
4 U.S. 253 (____)
4 Dall. 253
The Commonwealth
versus
Gibbs.
Supreme Court of United States.

*254 Reed and Dickerson, for the commonwealth.
*255 The COURT delivered a full and decided opinion, in the charge to the Jury, that the questions, proposed by the judges of the election, were illegal; that Mr. Beckly could not, therefore, be considered in the execution of his duty, when he insisted upon an answer to those questions; and that, consequently, the defendant was not liable to an indictment, under the election law (however he might otherwise be charged) for resisting, in the way that he did, the demand upon his father, to answer questions tending to criminate himself.
Verdict, not guilty.
